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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

1. I am a Special Agent (“SA”) with the United States Department of Homeland
Security, Homeland Security Investigations (“HSI”), and have been so since May 2009. Iam
currently assigned to the Bangor, Maine Office, and have conducted investigations related to
narcotics, fraud against the Government, and crimes against children. I have received formal
training at the Federal Law enforcement Training Center in Glynco, Georgia. In addition to the
formal training I have received, I have approximately ten years of on-the-job training.
Moreover, I am a federal law enforcement officer who is engaged in enforcing criminal laws and
I am authorized by law to request and execute search warrants.

Zi I submit this affidavit in support of the filing of a criminal complaint charging
Cody Lyon with violating Title 18, United States Code, Section 875(c). The information
contained in this affidavit is based on my training and experience, discussions with other law

enforcement agents, and/or reading of investigative reports and other materials.
BACKGROUND OF INVESTIGATION AND PROBABLE CAUSE

a On May 30, 2019, HSI SA Timothy Taber received information from U.S.
Customs and Border Protection (“CBP”), Manchester, New Hampshire, regarding a seized DHL
package (“Target Package”), bearing waybill number 2735922840, that contained two sets of
Xanax pill press dies. The package was manifested as “Machine Tool for Candy Production,”
shipped from Shan Dong Ju Lang Education Technology Co., No 77 Qingquan Road, Laishan

District, Yantai, China, telephone number 13188782935 and was addressed to Confidential
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Witness (CW)! in Winthrop, Maine, telephone number 207-330-6187. Each pair contained one
die showing the name, “Xanax” and the other showing the number “2.”

4, On May 31, 2019 at approximately 4:30 PM, Food and Drug Administration
Special Agent (“SA”) R.E. and SA Taber interviewed CW at his home located in Winthrop,
Maine. CW denied ordering pill press dies from China and also denied knowing who used his
name and address for shipping. CW gave the agents consent to search his house and the results
were negative for any evidence related to the manufacturing of counterfeit pills.

5, On June 4, 2019, SA R.E. conducted a second interview of CW at CW’s
home in Winthrop, Maine. CW called SA R.E. earlier that same day and requested to meet to
provide new information about the Xanax pill press dies. CW told SA R.E. the Target Package
might have been ordered by Cody Lyon, CW’s childhood friend. According to CW, Cody Lyon
had previously used CW’s address to receive a shipment of ammunition. CW confronted Cody
Lyon, via text message, regarding the pill press dies following the first interview with agents,
and voluntarily showed SA R.E. the conversation. CW also allowed SA R.E. to take pictures of
CW’s phone displaying the conversation. Cody Lyon’s cell phone number, 207-458-8000,
appeared on the text message string. The conversation went as follows:

CW: "Cant believe you lied to me about needing my address and shipping that to my

house and having fucking federal agents come to my house when I've told you never to

send anything to my house your a fucking idiot they know who you are"

CW: "Honestly so mad at you don't talk to me"

CODY LYON: "This is something that needs to be talked about in person. it came off

amazon and your address was saved onto my computer when I ordered that ammo. But
you have every right to be mad, I honestly did not do that on purpose and I feel like a

 

' CW does not have any criminal history, and is not receiving any financial benefit for his cooperation.

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piece of shit. I'm truly sorry, I know your not going to accept my apology and that's
alright. I'll leave you alone."

CW: "All I'm gonna say is there not stupid and know what's going on"
CW: "And it def didn't come off of amazon"

CODY LYON: "I'll send you the fuckinng link I'm not lying"

CW: "Don't send me the link"

CW: "Why would amazon have stuff that is a federal crime on it"

CODY LYON: "Dude that's what I dont get eb. Like I love you like a brother and I would
never put you in that fucking situation"

CODY LYON: "Legit go look it up on amzon"

CW: "I'm just so done with the drug bullshit fucking feds at my house I have nothing to
hide but still like wtf two of them"

CW: "They know I didn't order it they were just confused as to why it was coming to my
house"

CODY LYON: "I got nothing to hide either man. And I agree it's time. But [name
redacted] I'm truly sorry and you have every write to be mad at me."

6. CW said that he has seen Cody Lyon with cocaine and knows Cody Lyon owns
several guns. According to CW, Cody Lyon is “crazy” and a drug user. CW stated that Lyon
drives an $80,000 Range Rover and lives on Woodridge Drive in Manchester, Maine. CW did
not recall the house number but said it is a blue house that sits before a corner. Cody Lyon told
CW that he has a bank safe installed in his house. Cody Lyon works for his father’s company,

Scott Lyon Construction.

de On June 14, 2019 at approximately 2:48 PM, SA R.E. notified SA Taber that CW
had received a package in the mail earlier that same day but CW did not order it and did not
know its contents. At approximately 4:20 PM, SA Taber met with CW and he willingly gave SA

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Taber the package which had yet to be opened. While in the presence of CW and with his
consent, SA Taber opened the package and discovered two sets of Xanax pill press dies which
were identical to the dies seized by CBP on May 30, 2019. CW believed that Cody Lyon ordered
the dies. CW said that approximately one year ago, Cody Lyon used to make Xanax pills in his

house (95 Woodridge Drive, Manchester, Maine).

8. SA RE. returned from a vacation (which began on June 15, 2019) to his home in
New Hampshire on June 22, 2019. At approximately 12:00 AM on June 23, 2019, SA R.E.
turned on his Government issued cell phone which he left at his home in New Hampshire while
on vacation and was alerted to eight voicemail messages from the Target Mobile Phone. The
messages were left on June 15, 2019 between 11:14 PM and 11:49 PM and each one consisted of
a threat or threats directed at SA R.E., some of which involved inflicting bodily harm. The

following are excerpts from the voice mail messages (not all inclusive):

“Show up at 95 Woodridge and I'll put a bullet in your fucking head.”

“I got your name, I got your phone, I know who your family is and go fuck yourself. Stop

fucking with me cause I got you on payroll, bitch.”

“Show up at 95 Woodridge, Ill fuck you up, bitch. We got a whole fucking crew here

waiting for you.”

“I’m going to fuck your daughter. I’m going to fuck her right in the butt. Charge me with

this shit Pll kill you.”

“You ain’t got nothin bitch, ll chop your head off.”

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“Stomp my door in and I’ll stomp your fucking teeth in.”

“T’ve got so many guns....”

“I’m looking at two fucking fully loaded AK 74s.”

9. On June 10, 2019 SA Taber issued a subpoena (ICE-HSI-BH-2019-00058) to US
Cellular for subscriber and call detail records for the Target Mobile Phone for the time period of
March 5, 2019 through June 5, 2019. According to US Cellular records, the Target Mobile Phone
was subscribed to Scott Lyon, 22 Range Way, Manchester, Maine 04351-3543, The customer
name on the records was Scott D. Lyon Construction and the home telephone number was 207-

623-1909.

10, On July 11, 2019, SA Taber issued a search warrant to US Cellular and Verizon
Wireless for historical cell site records for Cody Lyon’s and SA R.E.’s phone for the time period
May 28, 2019 to June 30, 2019. On July 17, 2019, Verizon Wireless responded to the search

warrant and SA Taber identified the following information.

a. On June 14, 2019 at 5:40 PM, SA R.E.’s phone hit off of a cell phone tower
located at 24 Front Street, Exeter, New Hampshire after receiving an incoming

call.

b. The next call to capture cell tower data occurred on June 23, 2019 at 8:47 AM and
that call hit off of the same tower in Exeter, New Hampshire.

c. SAR.E.’s phone received eight voicemail messages from the Target Mobile

Phone on June 15, 2019 between 11:14 PM and 11:49 PM.
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11. On July 27, 2019, US Cellular responded to the search warrant and SA Taber

identified the following information.

d. The Target Mobile Phone hit off of a cell phone tower located at 50 Tower Road,
Manchester, Maine when the eight threatening voicemail messages were left on
SA R.E.’s phone on June 15, 2019.

e. The Target Mobile Phone was subscribed to Scott Lyon.

13. Based on my training and experience, and supported by the foregoing facts, I have

probable cause to believe Cody Lyon violated Title 18, United States Code, Section 875(c).

I, Chase Ossinger, hereby swear under oath that the information set forth in this affidavit is true
and correct to the best of my knowledge, information, and belief, and that I make this oath under pains
and penalties of perjury.

Dated at Bangor, Maine this Ad day of August 2019.
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Chase Ossinger
Special Agent
Homeland Security Investigations

Sworn and subscribed before me this 2eAay of August, 2019.

   
  

C, Nivison
ed States Magistrate Judge
